Case 6:14-cv-00196-PGB-DAB Document 52 Filed 02/20/15 Page 1 of 1 PageID 159



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


RENEE SNODGRASS,

                       Plaintiff,

v.                                                     Case No: 6:14-cv-196-Orl-40DAB

WORLD RECOVERY SERVICE, LLC
and UNITED CREDIT RECOVERY,
LLC,

                       Defendants.
                                         /

                                         ORDER

       This cause came on for consideration following review of the Joint Stipulation of

Voluntary Dismissal without Prejudice, in which the parties stipulate to the dismissal of

the above-captioned action in its entirety without prejudice. (Doc. 51). The stipulation of

dismissal is self-executing pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1279 (11th Cir. 2012).

Accordingly, the Clerk of Court is DIRECTED to close the case.

       DONE AND ORDERED in Orlando, Florida on February 20, 2015.




Copies furnished to:

Counsel of Record
Unrepresented Parties
